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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   ) CRIMINAL ACTION NO.
    v.                             )  2:07cr0145-MHT
                                   )       (WO)
MARTEL DEWAN WATSON                )


                        OPINION AND ORDER

    This cause is before the court on defendant Martel

Dewan Watson’s motion to continue.             For the reasons set

forth below, the court finds that jury selection and

trial,   now   set    for    September      17,   2007,     should     be

continued pursuant to 18 U.S.C. § 3161(h)(8).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:
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           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

§ 3161(c)(1).        The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."         §   3161(h)(8)(A).           In    granting      such     a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance "would deny

counsel for the defendant ... reasonable time necessary

for    effective     preparation,        taking    into    account       the

exercise of due diligence."              § 3161(h)(8)(B)(iv).

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Watson in a speedy trial.


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Watson represents that, due to his counsel’s medical

problems, the current trial date would not provide his

counsel      with     enough      time        to   prepare      effectively.

Watson’s      states     that,      on       August    13,    2007,   counsel

underwent hip replacement surgery.                    Doctors have advised

her that the recovery period will be at least six weeks.

       A continuance is therefore warranted to enable the

counsel to prepare effectively.                    See United States v.

Apperson, 441 F.3d 1162, 1183-84 (10th Cir. 2006) (a

continuance         based    upon        defense      attorney’s      medical

problems was acceptable under the Speedy Trial Act);

United States v. Jones, No. 2:06cr215, 2007 WL 2231023

(M.D.     Ala.    Aug.      1,   2007)       (Fuller,      C.J.)   (granting

continuance when defendant’s counsel was scheduled for

hip replacement therapy with a six-week recovery time).

This     court’s      decision      to        grant    a     continuance   is

buttressed by the fact that co-defendant William Bolding

has also been granted a continuance.                       Furthermore, the

government does not oppose the continuance.



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    Accordingly, it is ORDERED as follows:

    (1)   Defendant      Martel     Dewan    Watson’s     motion       for

continuance (doc. no. 37) is granted.

    (2)   The    jury   selection      and    trial,    now    set     for

September 17, 2007, are reset for December 10, 2007, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson Jr.

United States Courthouse Complex, One Church Street,

Montgomery, Alabama.

    DONE, this the 24thd day of August, 2007.



                              /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
